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EXHIBIT H
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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL No. 2179
“DEEPWATER HORIZON?” in the §
GULF OF MEXICO, § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
Applies to: §
§ MAG. JUDGE SHUSHAN
All cases §
and No. 10-2771, No. 10-4536, No. 11-  §

1054, and No. 11-1986

AFFIDAVIT OF JAMES W. FERGUSON

THE STATE OF TEXAS _ )
)
COUNTY OF HARRIS )

On this day, James W. Ferguson appeared before me, the undersigned notary public.
After I administered an oath to him, upon his oath, he said:

1. My name is James W. Ferguson. I am the Senior Vice President
and Deputy General Counsel of Halliburton Energy Services, Inc.
("HESI"). The facts stated in this affidavit are within my personal
knowledge and are true and correct based upon records developed and
maintained in the normal course of HESI's business and in the conduct of
litigation referenced herein.

2. On April 15, 2009, BP contracted with HESI to perform cementing
operations and provide certain other related support services in the Gulf of
Mexico in the Contract for Gulf of Mexico Strategic Performance Unit
Offshore Well Services, BPM—09-00255 (the "Contract"). A true and
correct copy of the Contract is attached as Exhibit A to HESI's Motion for
Summary Judgment Regarding Indemnity Issues.

3. On May 5, 2010, I forwarded a letter to BP on behalf of HESI
requesting that BP honor its indemnity and defense obligation under the
Contract. A true and correct copy of that letter is attached as Exhibit C to
HESI's Motion for Summary Judgment Regarding Indemnity Issues.

4, On June 25, 2010, BP sent a letter responding to HESI's request for
indemnity and defense. A true and correct copy of that letter is attached as
Exhibit D to HESI's Motion for Summary Judgment regarding Indemnity
Issues.
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5. Further affiant sayeth not.

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{ehies W. eee

SWORN AND SUBSCRIBED to before me on this the , 30) - November, 2011.

Ss SS a ! alo Nt k y

SS, FALEEN HUNTER Notary Public
5-1 yhvi- 2 Notary Public, State of Texas in and for the State of Texas
peur S My Commission Exp, 02-21-2014

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1803005 v1-24010/0002 PLEADINGS
